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                                      Exhibit D

                      Potential Assumption and Assignment Notice
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    SIDLEY AUSTIN LLP                                         SIDLEY AUSTIN LLP
    Thomas R. Califano (24122825)                             William E. Curtin (admitted pro hac vice)
    Rakhee V. Patel (00797213)                                Patrick Venter (admitted pro hac vice)
    2021 McKinney Avenue, Suite 2000                          Anne G. Wallice (admitted pro hac vice)
    Dallas, Texas 75201                                       787 Seventh Avenue
    Telephone:     (214) 981-3300                             New York, New York 10019
    Facsimile:    (214) 981-3400                              Telephone:     (212) 839-5300
    Email:         tom.califano@sidley.com                    Facsimile:     (212) 839-5599
                   rpatel@sidley.com                          Email:         wcurtin@sidley.com
                                                                             pventer@sidley.com
                                                                            anne.wallice@sidley.com
    Proposed Attorneys for the Debtors
    and Debtors in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                            Chapter 11

    PROSPECT MEDICAL HOLDINGS, INC., et al., 1                        Case No. 25-80002 (SGJ)

                             Debtors.                                 (Jointly Administered)


     NOTICE OF (I) POTENTIAL ASSUMPTION AND ASSIGNMENT OF
EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND (II) CURE AMOUNTS

        You are receiving this notice (the “Cure Notice”) because you may be a Counterparty
to an executory contract or unexpired lease of the Debtors that may be assumed and assigned
to the Purchaser or as otherwise contemplated in the Sale Transaction (each, an “Executory
Contract”). If you fail to respond to this Cure Notice, you shall be deemed to have consented
to the assumption by the Debtors and assignment to the Purchaser of the Executory
Contract.

PLEASE TAKE NOTICE OF THE FOLLOWING:

        On [], 2025, the Debtors filed a motion [Docket No. []] (the “Sale Motion”), 2 pursuant to
sections 363 and 365 of the Bankruptcy Code and Rules 2002, 6004, and 6006 of the Federal Rules
of Bankruptcy Procedure (“Bankruptcy Rules”), seeking entry of an order (the “Sale Order”)


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://omniagentsolutions.com/Prospect. The Debtors’ mailing address is 3824
      Hughes Ave., Culver City, CA 90232.
2
      Capitalized terms used but not defined herein have the meaning ascribed to such terms in the Sale Motion.



                                                          2
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approving, among other things, the sale of the Assets to [] (the “Purchaser”), free and clear of all
liens, claims and encumbrances (such transaction, the “Sale Transaction”).

       The Debtors may assume and assign to the Purchaser one or more of those executory
contracts and unexpired leases listed on Exhibit A annexed hereto (collectively, the “Potentially
Assigned Agreements” and each, a “Potentially Assigned Agreement”), pursuant to section 365 of
the Bankruptcy Code.

       Each of the Executory Contracts that may be assumed and assigned in connection with
the Sale Transaction and the Debtors’ calculation of the Cure Amounts with respect thereto are set
forth on Exhibit A hereto. The Cure Amounts are the only amounts proposed to be paid upon the
assumption and assignment of the Executory Contracts.

       The inclusion of any contract or lease on Exhibit A shall not constitute or be deemed a
determination or admission by the Debtors that such contract or other document is, in fact, an
executory contract or unexpired lease within the meaning of the Bankruptcy Code (all rights with
respect thereto being expressly reserved). If you disagree with the proposed Cure Amounts, you
must file an objection in accordance with the instructions below.

                                            Objections

A. Cure Objections

       Any objection to the potential assumption, assignment, or designation of an Executory
Contract identified on Exhibit A, the subject of which objection is the Debtors’ proposed Cure
Amounts, if any, must (i) be in writing, (ii) comply with the Bankruptcy Code, Bankruptcy Rules,
and Local Rules, (iii) state, with specificity, the legal and factual basis thereof, including, what
Cure Amounts the objecting party believes are required, (iv) include any appropriate
documentation in support thereof, (v) be filed with the Court by no later than [], 2025 at 4:00
p.m. (prevailing Central Time), and (vi) served on (a) Prospect Medical Holdings, Inc., 3824
Hughes Ave., Culver City, CA 90232; (b) proposed counsel to the Debtors, Sidley Austin LLP,
787 Seventh Avenue, New York, NY 10019 (Attn: Thomas R. Califano
(tom.califano@sidley.com), William E. Curtin (wcurtin@sidley.com), Anne G. Wallice
(anne.wallice@sidley.com) and Sean M. Nuernberger (sean.nuernberger@sidley.com)); (c) the
Office of the United States Trustee for the Northern District of Texas; (d) counsel to any statutory
committee that has been appointed in the chapter 11 cases; (d)        the Attorney General’s office
for the Commonwealth of Pennsylvania; the Commonwealth of Pennsylvania; and (f) counsel to
the Purchaser, Stradley Ronon Stevens & Young, LLP, 2005 Market Street, Suite 2600,
Philadelphia, PA 19103 (Attn: William Sasso (WSasso@stradley.com), Thomas Xi
(TIX@stradley.com) and Julie Murphy (Jmmurphy@stradley.com)).

IF NO ASSIGNMENT OBJECTION IS TIMELY FILED WITH RESPECT TO AN
EXECUTORY CONTRACT: (I) THE COUNTERPARTY TO SUCH EXECUTORY
CONTRACT SHALL BE DEEMED TO HAVE CONSENTED TO THE ASSUMPTION
BY THE DEBTORS AND ASSIGNMENT TO THE PURCHASER OF THE EXECUTORY
CONTRACT, AND BE FOREVER BARRED FROM ASSERTING ANY OBJECTION
WITH REGARD TO SUCH ASSUMPTION AND ASSIGNMENT (INCLUDING,



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WITHOUT LIMITATION, WITH RESPECT TO ADEQUATE ASSURANCE OF
FUTURE PERFORMANCE BY THE PURCHASER); (II) ANY AND ALL DEFAULTS
UNDER THE EXECUTORY CONTRACT AND ANY AND ALL PECUNIARY LOSSES
RELATED THERETO SHALL BE DEEMED CURED AND COMPENSATED
PURSUANT TO SECTION 365(B)(1)(A) AND (B) OF THE BANKRUPTCY CODE UPON
PAYMENT OF THE CURE AMOUNT SET FORTH IN THE APPLICABLE
POTENTIAL ASSUMPTION AND ASSIGNMENT NOTICE FOR SUCH EXECUTORY
CONTRACT; AND (III) THE COUNTERPARTY SHALL BE FOREVER BARRED
FROM ASSERTING ANY OTHER CLAIMS RELATED TO SUCH EXECUTORY
CONTRACT AGAINST THE DEBTORS AND THEIR ESTATES OR THE
PURCHASER, OR THE PROPERTY OF ANY OF THEM, THAT EXISTED PRIOR TO
THE ENTRY OF THE ORDER RESOLVING THE CURE OBJECTIONS AND THE
SALE ORDER (AS DEFINED BELOW).

B. Adequate Assurance Objections

        Any objection to adequate assurance is preserved and can be submitted in writing, in a
manner consistent with the procedures set forth above with respect to cure objections, on or prior
to [], 2025 at 4:00 p.m. (prevailing Central Time).

                                   Cure Objection Hearing

Cure Objections that cannot be resolved by the parties will be heard by the Court on [], 2025 at
[] [a.m./p.m.] (prevailing Central Time) or as soon thereafter as counsel may be heard.

                         [Remainder of Page Intentionally Left Blank.]




                                                4
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Dated: [], 2025
Dallas, Texas                          /s/ [DRAFT]
                                       SIDLEY AUSTIN LLP
                                       Thomas R. Califano (24122825)
                                       Rakhee V. Patel (00797213)
                                       2021 McKinney Avenue, Suite 2000
                                       Dallas, Texas 75201
                                       Telephone:     (214) 981-3300
                                       Facsimile:    (214) 981-3400
                                       Email:         tom.califano@sidley.com
                                                     rpatel@sidley.com

                                       and

                                       William E. Curtin (admitted pro hac vice)
                                       Patrick Venter (admitted pro hac vice)
                                       Anne G. Wallice (admitted pro hac vice)
                                       787 Seventh Avenue
                                       New York, New York 10019
                                       Telephone:     (212) 839-5300
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                                       Email:        wcurtin@sidley.com
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                                                     anne.wallice@sidley.com

                                       Proposed Attorneys to the Debtors
                                       and Debtors in Possession




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                                      Exhibit A

                            EXECUTORY CONTRACTS

Counterparty or Landlord Name /    Description of Contract or   Cure Amount
            Address               Address of Subject Property




                                           6
